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                     UNITED STATES DISTRICT COURT

                     EASTERN DISTRICT OF LOUISIANA



JOHN DOE                                                  CIVIL ACTION

v.                                                        NO. 18-6880

LOYOLA UNIVERSITY, ET AL.                                 SECTION "F"




                            ORDER AND REASONS


      Local Rule 7.5 of the Eastern District of Louisiana requires

that memoranda in opposition to a motion be filed eight days prior

to the noticed submission date.         No memoranda in opposition to

Mary Algero’s motion to dismiss for failure to state a claim under

Rule 12(b)(6) has been submitted.

      Accordingly, because the motion is unopposed, and further, it

appearing to the Court that the motion has merit, 1 IT IS ORDERED:


1Ms. Algero, the Associate Dean of Faculty Development and Academic
Affairs and Professor of Law at Loyola University College of Law,
moves to dismiss the plaintiff’s claims against her. In addition
to claims against Loyola University, the plaintiff purports to
assert claims under Title IX against five current or former Loyola
University officials. But Title IX does not authorize lawsuits
against school officials, teachers, or other individuals. See
Fitzgerald v. Barnstable Sch. Comm., 555 U.S. 246, 257 (2009).
Because this principle (that individual defendants cannot be sued
under Title IX) applies equally to Ms. Algero as to the other
school administrator defendants, the plaintiff’s Title IX claims
against each individual defendant likewise must be dismissed.
                                 1
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that defendant Mary Algero’s motion to dismiss is hereby GRANTED

as unopposed.   The plaintiff’s Title IX-based claims against Mary

Algero, Robert Savoie, Robert Reed, Nikolina Camaj, and Alexandria

Kelch-Brickner are hereby dismissed.

                     New Orleans, Louisiana, March 18, 2019



                                 _____________________________
                                      MARTIN L. C. FELDMAN
                                  UNITED STATES DISTRICT JUDGE




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